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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

    SARA MAMMARELLA,                                                CIVIL ACTION
        Plaintiff

    VERSUS                                                          NO. 18-14238

    NEW ORLEANS CITY,                                               SECTION: “E” (1)
       Defendant

                                    ORDER AND REASONS
        This matter comes before the Court sua sponte. For the reasons that follow, the

Court hereby recuses itself from this matter pursuant to 28 U.S.C. § 455. The Clerk of

Court is instructed to reallot this matter to another Section of this Court.

                                       BACKGROUND

        On December 27, 2018, Plaintiff Sara Mammarella filed this action against

Defendant City of New Orleans.1 Plaintiff alleges officers of the New Orleans Police

Department committed a number of federal civil rights violations2 and that the City of

New Orleans is liable under the doctrine of respondeat superior.3 The case was then

allotted to the undersigned judge, who now recuses herself from this matter pursuant to

28 U.S.C. § 455 for the reasons set forth below.

                                     LEGAL STANDARD

        Title 28, section 455, requires the disqualification of a judge in any proceeding in

which his or her impartiality might reasonably be questioned, as well as when he or she

has a personal bias or prejudice against a party.4 Section 455(a) states, in pertinent part,

that a judge should recuse himself or herself “in any proceeding in which his [or her]


1 See R. Doc. 1 at 1.
2 R. Doc. 1 at
3 R. Doc. 1 at 12.
4 See 28 U.S.C. §§ 144, 455.


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impartiality might reasonably be questioned.”5 “In order to determine whether a court’s

impartiality is reasonably in question, the objective inquiry is whether a well-informed,

thoughtful and objective observer would question the court’s impartiality.”6 Moreover,

“the purpose of § 455(a), and the principle of recusal itself, is not just to prevent actual

partiality, but to avoid the appearance of partiality.”7

                                            DISCUSSION

        The undersigned oversees the implementation of the Consent Decree between the

United States of America and the City of New Orleans for the reform of the New Orleans

Police Department (the “Consent Decree”).8 Recognizing that section 455(a) claims must

be analyzed in light of the particular facts at hand, the Court finds the impartiality of the

undersigned could reasonably be questioned by a well-informed, thoughtful, and

objective observer in a case against the City of New Orleans alleging misconduct of its

police department. The Consent Decree covers a broad array of issues including

recruitment and training, performance evaluations and promotions, misconduct and

discipline. It calls for new departmental policies governing the use of force, searches and

seizures, arrests, interrogation, lineups and more. The Court holds regular status

conferences and hearings with officials of the City of New Orleans and the New Orleans

Police Department to discuss matters governed by the Consent Decree, including the type

of wrongdoing alleged in this case.




5 28 U.S.C. § 455(a).
6 Trust Co. v. N.N.P., 104 F.3d 1478, 1491 (5th Cir. 1997) (citing United States v. Jordan, 49 F.3d 152, 155–
58 (5th Cir. 1995)).
7 Republic of Panama v. American Tobacco Co. Inc., 217 F.3d 343, 346 (5th Cir. 2000) (quoting Jordan,

49 F.3d at 155).
8 United States v. New Orleans City, No. 12-1924 (E.D. La.).


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       The undersigned is responsible for ensuring that the New Orleans Police

Department achieves the reforms set forth in the Consent Decree, a task that mandates

knowledge of and familiarity with the New Orleans Police Department and its operations.

Although the Court has no bias or prejudice in favor of or against the New Orleans Police

Department, the present matter involves allegations of misconduct against the police

department. In light of the undersigned's role as overseer of the Consent Decree, recusal

is appropriate under Section 455(a) to avoid even the appearance of impropriety.

                                     CONCLUSION

       For the reasons stated above, the undersigned hereby recuses herself from this

matter pursuant to 28 U.S.C. § 455. Accordingly, IT IS ORDERED that the Clerk of

Court reallot this matter to another Section of this Court.

       New Orleans, Louisiana, this 2nd day of January, 2019.


                     ________________________________
                              SUSIE MORGAN
                       UNITED STATES DISTRICT JUDGE


     1/2/19
    2/15/05




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